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                                                                   Date: 2/25/2022
                                                                   By: Reina Alvarez
                                                                   Courtroom Deputy
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